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                           IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


   General Tools & Instruments, LLC,

             Plaintiff,                                    Case No.: 1:20-cv-01036

   v.                                                      Judge Jorge L. Alonso

   THE PARTNERSHIPS AND                                    Magistrate Judge Susan E. Cox
   UNINCORPORATED ASSOCIATIONS
   IDENTIFIED ON SCHEDULE “A”,

             Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

        N                                      DEFENDANT
        17                                      innov8-gb-ltd
        O.
        33                                          Ubante
        8
        34                   330                Bishop Norton            Ubante
        0
        38                                       Richohome
                             346                                     Bishop Norton
        6
        38                                         AETXJS
        1
        41                   381               Sejahtera Group         Richohome
        9
        41                                          Hjbus
                             389                                        AETXJS
        6
        43                                          H-Mall
        8
        44                   416                      Ezc           Sejahtera Group
        3
        45                                        Creeracity
                             418                                          Hjbus
        9
        46                                        paickdirect
        3
        46                   433                    cuteoo               H-Mall
        2
        53                                         Naisidier
                             449                                           Ezc
        8
        4                    453                                       Creeracity
                             462                                       paickdirect
                             468                                         cuteoo
                             534                                        Naisidier



                             330                                         Ubante
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DATED: July 13, 2020                        Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            111 West Jackson Boulevard, Suite 1700
                                            Chicago, Illinois 60604
                                            Telephone: 312-675-6079
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on July 13, 2020 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
